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Sheila deLa Cruz (VSB No. 65395)                          John W. Lucas (pro hac vice pending)
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Proposed Counsel for Debtor, Carter’s Grove, LLC          Counsel for Debtor, Carter’s Grove, LLC


                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                       Newport News Division

In re:                                                       )
                                                             )
CARTER’S GROVE, LLC,                                         )      Case No. 11-51330-SCS
                                                             )
                                   Debtor.           )       Chapter 11

                    ORDER GRANTING DEBTOR’S MOTION FOR
            A BRIDGE ORDER, OR ALTERNATIVELY, EXPEDITED HEARING

         Upon the Motion for Bridge Order or Expedited Hearing [Docket No. 16] (the “Motion for

Bridge Order or Expedited Hearing”)1 filed by the debtor, Carter’s Grove, LLC (the “Debtor”) for

an order, pursuant to section 105 of the Bankruptcy Code, Rule 9006 of the Federal Rules of

Bankruptcy Procedure, and Rule 9013-1(M) and (N) of the Local Bankruptcy Rules, requesting the

Court for entry of an order temporarily extending the Debtor’s exclusive period to solicit votes (the

“Exclusive Solicitation Period”) for its chapter 11 plan through date the Court considers and rules

upon Motion of the Debtor for Order Pursuant to 11 U.S.C. §1121(d) Extending the Exclusive

Period in Which the Debtor May Solicit Acceptances of Plan of Reorganization [Docket No. 15]
1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion for
Bridge Order or Expedited Hearing.
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(the “Motion to Extend”), or in the alternative, setting an expedited hearing (the “Expedited

Hearing”) on the Motion to Extend at the Court’s earliest convenience but prior to the expiration of

the Exclusive Solicitation Period, and deeming the Debtor’s notice of the Expedited Hearing as set

forth therein to be adequate and appropriate notice under the circumstances; the Court having

reviewed the Motion for Bridge Order or Expedited Hearing, the Motion to Extend, and the

Certification for the Expedited Hearing; it appearing to the Court that proper and adequate notice

of the Motion for Bridge Order or Expedited Hearing has been given under the circumstances and

that no other or further notice is necessary; and upon the record herein; and after due deliberation

thereon; and good and sufficient cause appearing therefor, it is hereby

       ORDERED, ADJUDGED, AND DECREED that:

       1.      The Motion for Bridge Order or Expedited Hearing is GRANTED per the

following terms:

              Bridge Order: The Court has scheduled a hearing on the Motion to Extend for

               August 18, 2011, at 1:00 p.m. (Eastern Time) (Norfolk Division), and the Exclusive

               Solicitation Period shall be extended through and including August 18, 2011, or

               such later date the Court makes a determination on the Motion to Extend.

       2.      The form of the Debtor’s Notice of Motion of the Debtor for Order Pursuant to 11

U.S.C. §1121(d) Extending the Exclusive Period in Which the Debtor May Solicit Acceptances of

Plan of Reorganization and of Proposed Expedited Hearing Thereon attached hereto as Exhibit 1

(the “Notice”) is hereby approved.

       3.      As soon as practicable, the Debtor shall serve the Notice of the Motion for Bridge

Order or Expedited Hearing via first class mail, postage pre-paid and/or electronic mail on: (i) the



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Office of the United States Trustee for the Eastern District of Virginia; (ii) counsel for the Secured

Creditors; and (iii) the Debtor’s unsecured creditors and/or their known counsel. Under the

circumstances, no other or further notice of the Motion for Bridge Order or Expedited Hearing is

required. The notice of the Motion for Bridge Order or Expedited Hearing is deemed sufficient.

       4.      The notice requirements of Local Bankruptcy Rules 5005-l(A)(8) and 9013-1(M)

are hereby waived for the Motion for Bridge Order or Expedited Hearing and the Motion to

Extend, subject to the Court’s right, upon further consideration at the Expedited Hearing, to require

additional notice with respect to the Motion to Extend.

       5.      Subject to the Debtor’s serving the Motion to Extend in accordance with this Order,

the requirements of Local Bankruptcy Rule 9022-1(B) and (C) are hereby waived for the Motion

for Bridge Order or Expedited Hearing and the Motion to Extend.

       6.      The requirement of filing a written response to the Motion to Extend is waived.

       7.      The Debtor is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion for Bridge Order or Expedited

Hearing.

       8.      The requirement under Local Bankruptcy Rule 9013-1(G) to file a memorandum of

law in connection with the Motion for Bridge Order or Expedited Hearing is hereby waived.

       9.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       10.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

             Aug 9 2011
   Dated: ______________


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    Newport News, Virginia
                                       /s/ Stephen C. St.John
                                      __________________________________
                                      United States Bankruptcy Judge
                                                          8/9/2011
                                      Entered on Docket: __________________


I ask for this:

  /s/ Sheila deLa Cruz
Robert S. Westermann (VSB No. 43294)
Sheila deLa Cruz (VSB No. 65395)
Hirschler Fleischer, P.C.
The Edgeworth Building
2100 East Cary Street
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and

Debra I. Grassgreen (pro hac vice pending)
John W. Lucas (pro hac vice pending)
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       jlucaspszjlaw.com
Counsel for the Debtor, Carter’s Grove, LLC




Seen and Agreed:

  /s/ Debera F. Conlo                         (signature authorized)
Debera F. Conlon (VSB No. 20837)
Office of the United States Trustee
200 Granby Street, Room 625


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Norfolk, VA 23510
Phone: (757) 441-6012
Facsimile: (757) 441-3266
Assistant U.S. Trustee

                 LOCAL BANKRUPTCY RULE 9022-1(C) CERTIFICATION

        I hereby certify that the foregoing proposed order has been served upon and/or endorsed by
all necessary parties.
                                             /s/       Sheila deLa Cruz
                                                         Proposed Counsel




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                                                                                                     EXHIBIT 1

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Sheila deLa Cruz (VSB No. 65395)                           John W. Lucas (pro hac vice pending)
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Proposed Counsel for Debtor, Carter’s Grove, LLC           Counsel for Debtor, Carter’s Grove, LLC


                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                     Newport News Division

In re:                                                        )
                                                              )
CARTER’S GROVE, LLC,                                          )      Case No. 11-51330-SCS
                                                              )
                                 Debtor.           )          Chapter 11

            NOTICE OF MOTION OF THE DEBTOR FOR ORDER PURSUANT
            TO 11 U.S.C. §1121(D) EXTENDING THE EXCLUSIVE PERIOD IN
            WHICH THE DEBTOR MAY SOLICIT ACCEPTANCES OF PLAN
                  OF REORGANIZATION AND HEARING THEREON

         PLEASE TAKE NOTICE THAT on August 5, 2011, the debtor, Carter’s Grove, LLC

(the “Debtor”), by counsel, filed with the United States Bankruptcy Court for the Eastern District

of Virginia, Richmond Division (the “Court”), its Motion of the Debtor for Order Pursuant to 11

U.S.C. §1121(d) Extending the Exclusive Period in Which the Debtor May Solicit Acceptances of

Plan of Reorganization (the “Motion to Extend”).

         PLEASE TAKE FURTHER NOTICE THAT on August 5, 2011, the Debtor also filed a

Motion for a Bridge Order, or Alternatively, Expedited Hearing (the “Motion for Bridge Order or


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Expedited Hearing”), requesting entry of an order for entry of an order temporarily extending the

Debtor’s exclusive period to solicit votes (the “Exclusive Solicitation Period”) for its chapter 11

plan through date the Court considers and rules upon the Motion to Extend, or in the alternative,

setting an expedited hearing on the Motion to Extend at the Court’s earliest convenience but prior

to the expiration of the Exclusive Solicitation Period.

          PLEASE TAKE FURTHER NOTICE THAT the Court will enter a bridge order and has

scheduled the hearing (the “Hearing”) on the Motion to Extend for August 18, 2011, at 1:00 p.m.

(Eastern Time), in the United States Bankruptcy Court for the Eastern District of Virginia,

U.S. Bankruptcy Court, 600 Granby Street, 4th Floor, Courtroom #1, Norfolk, VA, 23510.

          PLEASE TAKE FURTHER NOTICE THAT copies of the Motion for Bridge Order or

Expedited Hearing and Motion to Extend (collectively, the “Motions”) may be viewed on the

Court’s website at www.vaeb.uscourts.gov in accordance with the procedures and fees set forth

therein. Copies of the Motions may also be obtained by contacting the undersigned counsel for the

Debtor.

          PLEASE TAKE FUTHER NOTICE THAT your rights may be affected. You should

read the Motions carefully and discuss them with your attorney, if you have one in this

bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

          PLEASE TAKE FURTHER NOTICE THAT if you do not want the Court to grant the

relief sought in the Motions, or if you want the Court to consider your views on the Motions, then

you or your attorney must attend the Hearing scheduled for August 18, 2011, at 1:00 p.m. If you

or your attorney do not take these steps, the Court may decide that you do not oppose the relief

sought in the Motions and may enter orders granting the relief requested in the Motions.



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Dated: August 5, 2011                         CARTER’S GROVE, LLC

                                              By: /s/ Sheila deLa Cruz
                                                       Proposed Counsel
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Sheila deLa Cruz (VSB No. 65395)
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Counsel for the Debtor, Carter’s Grove, LLC




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